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                          IN THE UNITED STATES DISTRICT COURT
13
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
                                     WESTERN DIVISION
15
16
         NOMADIX, INC.,                             No. CV19-10202 DDP (Ex)
17
18                    Plaintiff,                    RULE 26(f) REPORT
19             v.
20       SIA MIKROTĪKLS; MICROCOM
                                                    Honorable Dean D. Pregerson
21       TECHNOLOGIES, INC.; CREATIVE
         WIRELESS, INC.; and GLOBAL IT
22       COMMUNICATIONS, INC.,
23
                      Defendants.
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1             Pursuant to Federal Rule of Civil Procedure 26(f) and Local Rule 26-1,
2       Plaintiff Nomadix, Inc., and Defendant Global IT Communications, Inc., conferred
3       regarding a discovery plan and other topics that these rules contemplate. Nomadix
4       has also named as defendants Microcom Technologies, Inc., Creative Wireless, Inc.,
5       and SIA Mikrotīkls (“MikroTik”). Nomadix has dismissed its claims against
6       Microcom without prejudice. Creative Wireless has been served with process but
7       has not appeared. MikroTik is a Latvian company, and Nomadix is awaiting
8       confirmation of service of process on MikroTik based on a second application under
9       the Convention of 15 November 1965 on the Service Abroad of Judicial and
10      Extrajudicial Documents in Civil or Commercial Matters (Hague Service
11      Convention). Accordingly, the parties who remain in the case and have appeared
12      submit the following Rule 26(f) report.
13                             I. PROPOSED CASE SCHEDULE
14            The parties have agreed on the proposed case schedule that is attached as
15      Appendix A.
16                  II. REPORT IN RESPONSE TO FEDERAL RULE OF
17                                  CIVIL PROCEDURE 26(f)
18      A.    Initial Disclosures
19            The parties have agreed to exchange initial disclosures by August 3, 2020.
20      B.    Overview Of Subjects Of Discovery
21            1.     Subjects On Which Discovery May Be Needed
22            With respect to Nomadix’s claims of patent infringement, Nomadix expects
23      that discovery will be needed on at least the following subjects:
24            The accused Ethernet routers and switches and access points with wireless
25      Ethernet provided by MikroTik, including their operation; the defendants’
26      distribution and installation of the accused products; the defendants’ knowledge of
27      the asserted Nomadix patents; the defendants’ knowledge of alleged infringement of
28      the asserted Nomadix patents, and their efforts, if any, to avoid the alleged
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1       infringement; and the defendants’ actions in allegedly contributing to and inducing
2       the infringement of the asserted Nomadix patents.
3             2.     Order Of And Limitations On Topics Of Discovery
4             The parties do not propose conducting discovery in phases or adopting
5       special procedures for limiting discovery to any particular issues.
6       C.    Discovery Of Electronically Stored Information
7             The parties are endeavoring to file a joint stipulation on discovery that will
8       address discovery of electronically stored information.
9       D.    Privileged Documents
10            The parties expect that their discovery stipulation will address issues about
11      claims of privilege and work-product immunity, including procedures for asserting
12      these claims after inadvertent disclosure. The parties expect to submit their
13      stipulation for the Court’s approval.
14      E.    Limitations On Discovery
15            The parties do not propose any changes to the limitations on discovery
16      imposed under the Federal Rules or Local Rules.
17      F.    Orders
18            The parties are endeavoring to submit a stipulated Protective Order and a joint
19      stipulation on discovery for the Court’s approval.
20                   III. REPORT IN RESPONSE TO LOCAL RULE 26-1
21      A.    Manual For Complex Litigation
22            The parties contend that, to the extent the Manual for Complex Litigation
23      recommends procedures that differ from the Federal Rules and Local Rules, they
24      should not be utilized in this case.
25      B.    Schedule For Dispositive Motions
26            The parties anticipate that they may file dispositive or partially dispositive
27      motions. Nomadix anticipates that it may file one or more motions for summary
28      judgment of infringement. Global IT anticipates it may file a motion for summary
                                                 -2-
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1       judgment. As set forth in Appendix A, the parties propose that the deadline for all
2       dispositive or partially dispositive motions be October 4, 2021.
3       C.     Alternative Dispute Resolution
4              Pursuant to Local Rule 16-15.2, the parties are filing herewith a “Request:
5       ADR Procedure Selection”; the parties have selected ADR Procedure 1 (settlement
6       proceedings before magistrate judge). The parties propose the ADR session occur
7       by November 12, 2021.
8       D.     Trial Estimate
9              The parties preliminarily estimate that they will need four (4) to six (6) court
10      days for trial.
11      E.     Additional Parties
12             Neither MikroTik nor Creative Wireless have yet appeared. The parties do not
13      presently anticipate joining any additional parties.
14      F.     Expert Witnesses
15             The parties propose making expert disclosures under Federal Rule of Civil
16      Procedure 26(a)(2) according to the proposed schedule set forth in Appendix A.
17
18                                      Respectfully submitted,
19                                      KNOBBE, MARTENS, OLSON & BEAR, LLP
20
21      Dated: July 24, 2020            /s/ Mark Lezama
                                        Douglas G. Muehlhauser
22                                      Perry D. Oldham
                                        Mark Lezama
23                                      Attorneys for Plaintiff
                                        NOMADIX, INC.
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1                                       SKAPIK LAW GROUP
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3       Dated: July 24, 2020            /s/ Mark J. Skapik
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5                                       Attorneys for
                                        GLOBAL IT COMMUNICATIONS, INC.
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                               AUTHORIZATION FOR SIGNATURE
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                   The other signatories to this document concur in this filing and have
10
        authorized the use of their signatures.
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12
                                        /s/ Mark Lezama
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                                        Mark Lezama
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                       Appendix A
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                                Proposed Schedule
   Deadline for requests for leave to amend              December 4, 2020
   pleadings or join parties
   Close of fact discovery (also presumptive last        May 7, 2021
   day for hearings on fact-discovery motions)
   Opening Rule 26(a)(2) expert disclosures on           May 28, 2021
   liability issues (by the party bearing the burden
   of persuasion; e.g., Nomadix’s expert report on
   infringement and Defendants’ expert report on
   invalidity)
   Opening Rule 26(a)(2) expert disclosures on           June 11, 2021
   damages
   Rebuttal Rule 26(a)(2) expert disclosures on          June 25, 2021
   liability issues
   Rebuttal expert reports on damages                    July 9, 2021


   Close of expert discovery (also presumptive last      August 20, 2021
   day for hearings on expert-discovery motions)
   Deadline for dispositive motions                      October 4, 2021
   Deadline for oppositions to dispositive motions       October 25, 2021
   filed on the deadline
   Deadline for reply briefs on dispositive motions      November 8, 2021
   filed on the deadline
   L.R. 16-2 conference of counsel                       November 15, 2021
   Hearing on dispositive motions filed on the           November 22, 2021
   deadline (approx.)
   Deadline for memoranda of contentions of fact         December 12, 2021
   and law; witness lists; L.R. 16-16 joint exhibit
   list
   Deadline for motions in limine and Daubert            January 10, 2021
   motions
   File final pretrial conference order; objections to   February 3, 2022
   exhibits / deposition transcripts
   Final pretrial conference; hearing on motions in      February 14, 2021
   limine and Daubert motions
   Trial (4–6 court days)                                March 1, 2022
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